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                       IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA

US DOMINION, INC., DOMINION
VOTING SYSTEMS, INC., and
DOMINION VOTING SY STEMS
CORPORATION,


                               Plaintiffs,

 v.                                               Civil Case No. 1:21-cv-00040-CJN

 SIDNEY POWELL, SIDNEY
  POWELL, P.C., and DEFENDING THE
 REPUBLIC, INC.,

                               Defendants.



                       NOTICE OF WITHDRAWAL AS COUNSEL
                        FOR SIDNEY POWELL. P.C.

        Pursuant to Local Rule 83.6(b), Howard Kleinhendler notices his withdrawal as

 counsel for Defendant Sidney Powell, PC ("Defendant"). Defendant will remain

 represented in this matter by The Kennedys Law Firm.

Dated: July 12, 2022                         Respectfully submitted,

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